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                 ORAL ARGUMENT NOT YET SCHEDULED

                  Case No. 23-1157 (and consolidated cases)

 IN THE UNITED STATES COURT OF APPEALS FOR THE DISTRICT
                  OF COLUMBIA CIRCUIT

                         ───̶───̶───̶───̶───
                           STATE OF UTAH, et al.,
                                                    Petitioners,
                                     v.
         U.S. ENVIRONMENTAL PROTECTION AGENCY, et al.,
                                                Respondents.
                         ̶───̶───̶───̶───̶───
             On Petitions for Review of Final Action by the
            United States Environmental Protection Agency
                  88 Fed. Reg. 36,654 (June 5, 2023)
                        ̶───̶───̶───̶───̶───
  BRIEF OF AMICI CURIAE GRID EXPERTS BENJAMIN F. HOBBS,
  BRENDAN KIRBY, KENNETH J. LUTZ, and SUSAN F. TIERNEY IN
                 SUPPORT OF RESPONDENTS
                       ̶───̶───̶───̶───̶───

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   CERTIFICATE AS TO PARTIES, RULINGS, AND RELATED CASES

   I. Parties and Amici


      Except for the following, all parties, intervenors, and amici curiae appearing

before this Court are listed or referenced in the Initial Brief for Respondents U.S.

Environmental Protection Agency, ECF No. 2060371 (filed June 17, 2024): Amici

Benjamin F. Hobbs, Brendan Kirby, Kenneth J. Lutz, and Susan F. Tierney

(“Amici”).


   II. Rulings Under Review


      These consolidated cases involve petitions to review the U.S. Environmental

Protection Agency’s final action entitled “Federal ‘Good Neighbor Plan’ for the

2015 Ozone National Ambient Air Quality Standards,” published at 88 F.R. 36,654

(June 5, 2023).


   III. Related Cases

     A list of related cases is provided in the Initial Brief for Respondents U.S.

Environmental Protection Agency at ii-iii.




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                             RULE 29 STATEMENTS

      Amici certify that no party in these consolidated proceedings has objected to

the filing of this amicus brief.


      Pursuant to Fed. R. App. P. 29(a)(4)(E), undersigned counsel for Amici

states that no party or party’s counsel authored this brief in whole or in part, and no

other person besides Amici or their counsel contributed money intended to fund

preparing or submitting the brief.


      Pursuant to D.C. Cir. R. 29(d), undersigned counsel for Amici state that a

separate brief is necessary due to Amici’s distinct expertise and interests. Amici are

engineers and analysts with expertise in the operation, structure, economics,

regulation, and reliability of the U.S. power system. No other amici curiae

appearing in this case share these perspectives or expertise, as far as Amici are

aware. Accordingly, Amici, through counsel, certify that filing a joint brief would

not be practicable.


                                                                 /s/ Cara Horowitz
                                                                 CARA HOROWITZ
                                                                 June 24, 2024




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                     GLOSSARY OF ABBREVIATIONS

NOx                    nitrogen oxides

The Plan               “Good Neighbor Plan” for the 2015 Ozone National
                        Ambient Air Quality Standards

EPA                    United States Environmental Protection Agency




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     AMICI CURIAE’S STATEMENT OF IDENTITY, INTEREST IN CASE,

                    AND SOURCE OF AUTHORITY TO FILE


        Amici are among the nation’s leading engineers and analysts with expertise

in the operation, regulation, and reliability of the U.S. power system.1 They have

expertise in grid structure, operations, economics, and modernization; integration

of renewable energy generation; and power-system reliability and planning. Amici

have a significant interest in the efficient functioning and regulation of the grid.

The U.S. Environmental Protection Agency’s “Good Neighbor Plan” for the 2015

Ozone National Ambient Air Quality Standards (the “Plan”) sets forth the federal

implementation plan for nitrogen oxides (“NOx”) attainment at issue in this case.

To aid the Court’s understanding of the technical matters at issue and the reliability

impacts of the Plan, this brief clarifies how and why the grids are designed and

operated as they are; how major trends, including the energy transition, are

impacting grid operation; and how such trends are changing approaches to

ensuring grid reliability.




1
    Amici’s credentials are summarized in the Addendum to this brief.

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                           SUMMARY OF ARGUMENT

      A primary challenge Petitioners raise to the U.S. Environmental Protection

Agency’s (“EPA”) adoption of the Good Neighbor Plan is that it will jeopardize

the reliability of the electric power system. In Petitioners’ telling, the Plan will

destabilize the grid by prematurely pushing stable coal-powered generation offline,

either permanently or for significant durations as equipment is upgraded. But in

reality, the Plan does no such thing, for two reasons.

      First, independently of the Plan, the grid is already transforming and shifting

away from coal-powered generation—and grid operators and regulators are already

successfully deploying a suite of tools and resources that ensure the reliability of

the grid as this transition occurs. No evidence in the record, or that we otherwise

know of, suggests that the Plan will push the grid or grid operators beyond their

ability to adapt to such changes and maintain reliable service.

      Second, the decline in coal generation that Petitioners place at the center of

their reliability arguments (and erroneously attribute to the Plan) is not, in fact, the

principal driver of reliability concerns; instead, grid reliability is threatened by a

range of stressors and disruptions from extreme weather and aging electricity

infrastructure to the changing nature of the aggregate load with increased

distributed generation, electrification, and large data centers requiring flexibility

that baseload generation is ill-equipped to supply. Meeting many of these


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conditions requires addressing the energy transition head on, rather than

obstructing it. These more significant concerns are not only already being

addressed by grid operators, utilities and other reliability organizations, but, to the

extent EPA’s rule impacts them at all, it has the potential to alleviate, rather than

exacerbate, them.

      The electrical grid is designed to provide affordable, reliable power to all

energy consumers. Grid reliability requires several core elements: sufficient

generation of electricity that can provide the many reliability services needed

across time and space; stable and dependable delivery of that electricity through

transmission and distribution in the face of possible disturbances; operating tools

and systems that ensure the real-time balancing of the whole system so supply

continuously matches demand; and flexibility in some portion of demand itself to

respond to changing conditions on the grid. Several trends today—economic,

technological, environmental, and regulatory—are contributing to a transformation

of the grid and a parallel evolution in grid reliability tools. These trends include the

longstanding decline in coal generation, the rapid rise of renewable generation and

energy storage technologies, the increasing cost-effectiveness of combined cycle

natural gas generation compared to coal-fired supply, and the increase in frequency

and severity of extreme weather events.




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       The Plan has not caused these well-established trends; instead, it acts in

concert with them. It acknowledges the longstanding and continuing replacement

of coal generation with renewable and natural gas generation, the effects of which

easily swamp any role of the Plan in altering the nation’s electricity generation

mix. Nothing in the Plan will prevent grid operators from using their ordinary tools

and methods to ensure the reliable delivery of electricity. Indeed, the record

supports EPA’s well-founded conclusion that the Plan poses no material risk to

electric system reliability, as grid operators and regulators continue to prioritize

resilient distribution and transmission alongside operational reliability and load

balancing.

       The sensibility of the Plan is unsurprising. EPA assessed the effect of the

regulation on grid reliability during the rulemaking process, consulting with expert

actors charged with ensuring reliability and incorporating their feedback in the

final version. EPA has developed a regulation that acts in concert with the ways the

grid is already changing and that is wholly consistent with the operation of a

reliable, resilient grid.




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                                      ARGUMENT


   I.      The Physical Constraints and Resource Mix of the Grid Shape the

           Strategies Required to Ensure Reliability of Service.

        Engineers have declared the U.S. power system the largest, “most complex

machine ever made.” PHILLIP F. SCHEWE, THE GRID: A JOURNEY THROUGH THE

HEART OF OUR ELECTRIFIED WORLD 1 (2007). The grid is a highly interconnected

system in which supply must be balanced with demand in real-time, all of the time.

This system operates with several unique features. Together, these features both

require and facilitate continuous orchestration of grid operations to ensure

uninterrupted service. Ensuring the reliability of this system results from a

multifaceted set of control systems and back-up capabilities that is constantly

evolving alongside the grid itself.

           a. Each of the three electric systems operates as a single, interconnected

              machine.

        Every electric generator in the continental United States is part of one of

three large regional grids (called “interconnections”) and is linked to other

generators and consumers through transmission and distribution lines. These three

main interconnections—the Eastern Interconnection, the Western Interconnection,

and the Electric Reliability Council of Texas—can each “be viewed as a single


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large machine with every generator pulling together to supply electricity to all

customers.” NORTH AM. ELECTRIC RELIABILITY CORP., BALANCING AND

FREQUENCY CONTROL REFERENCE DOCUMENT 1 (May 11, 2021).

      Each of these electrical interconnections consists of several components

essential to ensuring reliable and cost-effective power to consumers: generation,

transmission, distribution, and grid operation. First, a diverse set of generators

converts primary energy (such as coal, natural gas, sunlight, or wind) into

electricity. Second, within each grid, a network of high-voltage transmission lines

allows power to flow from where it is produced to where it is needed, sometimes

over hundreds or even thousands of miles. Third, local substations receive

electricity from high-voltage transmission lines and lower the voltage for delivery

to consumers via local distribution networks. Fourth, in any particular electrical

area, a single operator (called a “balancing authority”) must send signals to

schedule and dispatch generators’ output so that supply meets demand at all times,

even as demand changes in real time.

      Interconnection is the defining feature of these electric systems.

Interconnection allows grid operators to call upon generators to produce power and

provides multiple routes for power to travel if a power plant or transmission line

goes offline in one area and as demand fluctuates. The fundamental purpose of

each machine’s interconnectedness is to allow grid operators to continuously



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balance electricity supply and demand over vast regions, and to take advantage of

different power supply sources (with different costs), thus ensuring all consumers

access to affordable and reliable power. This feat is accomplished through

orchestrated second-by-second shifts among different generators, which the grids’

physical structure is designed to facilitate. Interconnection also facilitates system

reliability: If one line goes down, electricity can flow through alternative routes;

when a generator fails, other generating capacity that has been held in reserve can

pick up the load smoothly without a power interruption.

      Reliability-constrained economic dispatch of electric power occurs on

multiple scales—yearly, seasonally, monthly, weekly, daily, hourly, and in even

shorter intervals—as grid operators respond to variable supply, demand, and

operational constraints by managing shifts among generators. Renewable energy

generators typically receive dispatch priority because they have lower variable

costs than fossil-fuel-fired generators, which must purchase fuel.

      Keeping the grid online and ensuring it can meet consumers’ electricity

demand in real time—ensuring grid reliability, in other words—is an essential task

of grid operators with oversight from regulators. Ensuring that every time someone

seeks to use electricity, that electricity is instantaneously delivered requires three

primary elements: 1) adequate electricity generation, 2) consistent and resilient

delivery of that electricity, and 3) effective load balancing.



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      Planning to ensure the adequacy of resources on the system underpins the

ability of the system to meet reliability standards. Planning is critical to ensure

there is always adequate generation to meet expected regional demand, plus

additional capacity in case generators go offline for maintenance or equipment

failures. Throughout the country, North American Electric Reliability Corporation-

certified Balancing Authorities conduct reliability assessment planning and

Reliability Coordinators oversee the planning process, all under FERC-approved

mandatory Reliability Standards. In energy systems that have been restructured,

Regional Transmission Organizations or Independent System Operators are

charged with ensuring reliability, particularly amidst retirements of older

generators and the entry of new resources. In regions of the country without a

Regional Transmission Organization or Independent System Operator, an electric

utility typically serves as the balancing authority for a particular geographic area of

the grid.

      Grid operators have a variety of tools at their disposal to ensure that there

will be operational reliability at any given time. Interconnection, for example, is

not only important for delivery but is also a longstanding tool for sharing and

operating resources (allowing each individual utility to rely on a more diverse set

of electrical equipment to meet demand and provide backup power). The first

power plants constructed in the late 1800s initially served only local customers and



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relied on backup generators. These local utilities, however, quickly learned the

“benefits in reliability and realized reduced expense associated with maintaining

operating reserves by connecting to neighboring systems.” NORTH AM. ELECTRIC

RELIABILITY CORP., supra, at 4. Transmission lines that interconnect regions

facilitate the sharing of generation resources, which “allows regions to carry lower

planning reserve margins for the same level of resource adequacy.” NAT’L

RENEWABLE ENERGY LAB., EXPLAINED: FUNDAMENTALS OF POWER GRID

RELIABILITY AND CLEAN ENERGY 11 (2024). Increasingly, energy storage and

demand response programs are contributing to resource adequacy as well.

      The electric system’s reliability also depends upon maintaining and

operating transmission and distribution systems. These delivery systems must be

reliable and resilient: able to “bounce back” after incidents such as extreme

weather events. Alexandra Klass et al., Grid Reliability Through Clean Energy, 74

STANFORD L. R. 984 (2022). In practice, this is largely an exercise in managing

disruptions to delivery systems—most often, local distribution lines—caused by

weather events. NAT’L ACAD. OF SCIENCES, ENGINEERING, AND MEDICINE,

ENHANCING THE RESILIENCE OF THE NATION’S ELECTRICITY SYSTEM 1 (2017).

Historically, disruption to electricity distribution equipment by weather events has

been the greatest threat to reliability. NAT’L RENEWABLE ENERGY LAB.,

EXPLAINED: RELIABILITY OF THE CURRENT POWER GRID 1 (2024).



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      Even with adequate power and a well-maintained system of lines, the grid

can fail if electric generation and electricity demand are out of balance at any given

moment. Electricity is not a physical substance piped through lines. Generators do

not “generate” electrons and consumers do not “consume” electrons. Instead,

electric power is injected into and withdrawn from the grid. Electrons in an

alternating current electrical network (such as exists in the United States) merely

move back and forth at a frequency of 60 cycles per second. Because all electricity

within a grid is pooled, the electric power added by any single generator becomes

part of an undifferentiated flow on the network. As with water added to a pool,

consumers cannot distinguish, say, coal-generated power from wind-turbine-

generated power once it has been injected into the grid.

      Historically, balancing load required second-by-second matching of

electricity withdrawals to electricity generation. Increasingly, however, the formula

is evolving to reflect the deployment of energy storage. Load balancing is still

necessary, but energy storage provides a buffer. Energy storage systems can add

power to the grid when needed and pull excess power from the grid to recharge the

storage system, and they can do so on very short notice. Energy storage thus adds

flexibility to balancing because it allows for more nimble response. This kind of

flexible resource presents a stark contrast with “baseload” resources like coal,

which have long ramp times and are not adequately flexible to respond quickly to



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changes in load. Demand response programs also increasingly assist with load

balancing by shifting load to match generation, rather than vice versa.

         b. Grid reliability strategies are evolving to accommodate changing grid

             characteristics and reliability challenges.

      Robust tools are in place, and are evolving constantly, to ensure operational

reliability on the grid. The primary trends now driving changes to reliability tactics

are the longstanding decline of aging coal generation; the rapid growth in

renewable generation and energy storage; and the rise in extreme weather events.

Grid operators have tools to respond well to each of these trends to safeguard the

delivery of power.

      A large subset of existing coal-fired generating units are old, sometimes

running well beyond their expected operating lives. The economics of producing

power from other types of generating equipment, including gas-fired generation,

wind, solar, and storage, have rendered many old and inefficient coal-fired power

plants uneconomic. Many have retired for this reason, and many more will do so in

the near future. Technological developments, state and federal policy, and simple

economics have contributed to the rise of renewable generation and energy storage,

alongside energy efficiency and demand response programs.

      The biggest reliability threats, however, come from changing weather

conditions that are putting stress on the traditional approaches to maintaining and


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operating facilities. Extreme weather events “continue to pose the greatest risk to

reliability due to the increase in frequency, footprint, duration, and severity.”

NORTH AM. ELECTRIC RELIABILITY CORP., 2023 STATE OF RELIABILITY OVERVIEW

5 (2023). The increase in climate change-driven extreme weather is “[o]ne of the

greatest uncertainties in maintaining reliability.” NAT’L RENEWABLE ENERGY LAB.,

EXPLAINED: MAINTAINING A RELIABLE FUTURE GRID WITH MORE WIND AND SOLAR

5 (2024).

      Despite these trends, ensuring a renewable and reliable grid is possible today

using developing approaches and existing technology. See generally Larson et al.,

PRINCETON UNIVERSITY, NET-ZERO AMERICA REPORT (2021); GOLDMAN SCHOOL

OF PUBLIC POLICY, 2035: THE REPORT (2020). While new technologies are sure to

accelerate reliability solutions, the necessary changes are already here and are

being implemented now.

      To replace aging coal infrastructure, renewable resources are increasingly

being deployed in ways that allow for reliable service. Tools that enhance this

transition include greater overall generation capacity; a geographic diversity of

renewables siting; diversity of types of generation; robust interconnection and

improved transmission infrastructure; demand response and load flexibility tools

that can better align demand with the availability of renewable energy; the

deployment of energy storage; better forecasting of weather and its impacts on



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electricity use and supply; and improved tools to provide situational awareness and

visibility into operating conditions around the grid. Each of these tools helps to

accommodate the variability of renewable sources and provides additional benefits

to grid reliability.

       A portfolio of diverse generation sources can replace aging infrastructure

and ensure resource adequacy, including renewables, because different types of

generating equipment offer different reliability services. Hibbard et al., Electricity

Markets, Reliability, and the Evolving U.S. Power System, ANALYSIS GROUP (June

20, 2017). This is true for three main reasons.

       First, replacing aging fossil fuel plants with non-baseload power enhances

reliability by reducing the system’s reliance on large generating units with slow

ability to change levels of output, in favor of smaller, more nimble and flexible

generation sources that are better able to follow the variable aggregate load. The

idea of baseload power providing unmatched reliability is outdated: To the

contrary, fossil fuel plant disruption—both gas and coal—has driven service

interruptions in recent years due to extreme weather. In 2022, conventional

generation “experienced its highest level of unavailability (8.5%) overall since

NERC began gathering [Generating Availability Data Systems] data in 2013.”

NORTH AM. ELECTRIC RELIABILITY CORP., 2023 STATE OF RELIABILITY OVERVIEW

7 (2023). Coal-fired power plants have experienced increasing levels of unplanned



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outages. NORTH AM. ELECTRIC RELIABILITY CORP., 2024 STATE OF RELIABILITY

OVERVIEW 8 (2024).

      A grid designed around fossil fuel generation assumes there is central

control over these “baseload” plants. Because this assumption is built into the

design, that grid simply cannot deliver when these kinds of generation fail due to

weather. Making matters worse, reliance on fossil fuel generation, by exacerbating

climate change, will contribute to an increasing frequency of those same extreme

weather events that challenge grid reliability over the long run. A grid designed

around renewables, on the other hand, assumes variability and builds fluctuating

weather patterns into its approach. This variability-friendly approach to reliability

hardens the grid to extreme weather events.

      Second, increasing renewable generation capacity spurs the development of

new transmission capacity, which itself enhances resilience. Regulators and grid

operators have vigorously taken up the task of speeding the interconnection of the

massive queue of new renewable generation.2 New and upgraded transmission

infrastructure will harden the grid by modernizing equipment and building in



2
  The Federal Energy Regulatory Commission recently issued a rule regarding
long-term transmission planning and cost-allocation. 89 Fed. Reg. 49280. The
Department of Energy promulgated a new rule to streamline permitting of
transmission. 10 C.F.R. § 900. Along with other grid enhancing technologies,
innovations to transmission cables that can accommodate double the load can
increase transmission capacity by reconductoring circuits.

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redundancy that will lessen risks from network outages and wildfire danger. These

upgrades will also allow for greater throughput capability, supporting geographic

and resource diversity alongside greater resilience.

      Third and last, the geographic and source diversity of new renewable

generation will provide yet another set of independent benefits, including by

reducing threats from extreme weather. A more geographically diverse array of

generation resources increases systemwide resiliency to weather variation, extreme

weather events, and variations in the timing and shape of consumers’ demand.

Resource diversification also reduces risks associated with fuel supply constraints

and price shocks. NAT’L RENEWABLE ENERGY LAB., RENEWABLE ENERGY TO

SUPPORT ENERGY SECURITY 3 (2019).

         c. Coal generation is in longstanding decline because it is not

              competitive with natural gas and renewable generation.


      Coal-fired generation has been in decline for over a decade, both in absolute

amounts and in the share of total power it provides. Renewable generation capacity

is growing. In the U.S., coal generation at many power plants simply cannot

compete with the high efficiency of combined cycle gas combustion turbines

coupled with low gas prices, or with the near-zero operational costs of renewable

generation.



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      A reasonable expected operating life of coal-fired units is 40 years, but the

average age of the currently operating coal fleet is 47.2 years. BRATTLE GROUP, A

REVIEW OF COAL-FIRED ELECTRICITY GENERATION IN THE U.S. 18 (2023). Aging

coal plants become more expensive to maintain and operate, and can become

increasingly unable to provide many needed reliability services. Id. at 19 (on

operating costs of aging coal plants). As a result, it can be less expensive to build

new renewable generation than to continue to maintain and operate coal-generating

units that are already beyond their expected operating lives.

      The decline of coal cannot be viewed in a vacuum. Due to the systems of

economic dispatch described above, the retirement of coal generation and the entry

of new natural gas and renewable generation are interrelated. As an enormous

quantity of renewable capacity has come online, it has contributed to decreasing

output at coal-fired power plants as a natural outcome of market forces in

combination with federal financial incentives, state policies, and purchasing

preferences of many large electricity customers. Renewable generation in the U.S.

surpassed coal generation in 2022. ENERGY INFO. ADMIN., Renewable Generation

Surpassed Coal and Nuclear in the U.S. Electric Power Sector in 2022 (March 27,

2023), https://www.eia.gov/todayinenergy/detail.php?id=55960.

      While facilitated by economic dispatch principles, the decline in coal is

driven primarily by cost changes and by financial incentives for renewables.



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Combined cycle gas combustion turbine generation is now significantly more

efficient and more flexible than a substantial number of coal-fired steam generation

units. ENERGY INFO. ADMIN., Most Combined-Cycle Power Plants Employ Two

Combustion Turbines with One Steam Turbine (April 25, 2022),

https://www.eia.gov/todayinenergy/detail.php?id=52158. Renewable generation,

meanwhile, has near-zero operating costs, and with rapidly evolving technology

alongside policy incentives, the overall costs of renewable generation are falling

rapidly.

      State policy tools like emissions targets and renewable portfolio standard

requirements have also driven the decline of coal generation. See, e.g. BRATTLE

GROUP, supra, at 23. At the federal level, the Inflation Reduction Act is expected to

increase renewable and low-emissions generation even more, primarily through tax

credits for wind, solar, energy storage, and other clean energy resources. S&P

Global estimates that 24.3 gigawatts, or about 41%, of coal retirements projected

by 2030 will be due to Inflation Reduction Act incentives for other generating

technologies. Taylor Kuykendall et al., Inflation Reduction Act to Accelerate U.S.

Coal Plant Retirements, S&P Global (Feb. 2023),

https://www.spglobal.com/marketintelligence/en/news-insights/latest-news-

headlines/inflation-reduction-act-to-accelerate-us-coal-plant-retirements-

74196498.



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         Coal’s decline shows no signs of slowing and is projected to continue. This

reduction is expected to be frontloaded, with a heavy decline before 2030 and most

of the aging and less efficient coal infrastructure likely retiring before 2040. Id.;

Susan Tierney, U.S. Coal-Fired Power Generation: Market Fundamentals as of

2023 and Transitions Ahead, ANALYSIS GROUP 38-40 (2023). The adoption of

renewable generation and energy storage, on the other hand, is increasing at near

exponential rates.


   II.      The Good Neighbor Plan Will Not Jeopardize Grid Reliability.

         The Plan will not jeopardize reliability for two key reasons. First, the Plan’s

marginal impact on coal retirements will not result in “disorderly retirement,” as

petitioners argue. Second, and crucially, the longstanding trend of coal power plant

closures and the projected continuation of this trend do not, as petitioners claim,

“necessarily impact reliability.” Industry Petitioners Brief 82 (April 1, 2024), ECF

No. 2047829. Petitioners’ errors are manifold: They misattribute to the Plan a

causal role in compounding existing trends, when instead the plan is simply

designed around reasonable projections of preexisting trends. Petitioners also

selectively focus on one element of reliability—resource adequacy—at the expense

of other elements that will likely benefit from the systemwide changes in the power

generation market and infrastructure that the Plan assumes. Finally, Petitioners



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mischaracterize EPA’s consideration of reliability concerns throughout the

rulemaking process.

                a. The Good Neighbor Plan’s emission program will not cause

                   “disorderly retirement” of coal plants.

      Petitioners argue that the Plan’s Cross State Air Pollution Rule Trading

Program will push coal generation offline because it fails to provide sufficient

emissions allowances to cover necessary grid operations. Petitioners also argue that

“[e]ven if allowances are available . . . the [Plan’s] enhancements will require

EGUs to install controls or shutdown. Those powerplant closures will necessarily

impact reliability.” Industry Petitioners Brief, supra, 82. Each argument is

addressed in turn below.

   i. The Cross State Air Pollution Rule Trading Program’s allowances are more

      than adequate to maintain reliability.

      Emissions trading programs, like the Cross State Air Pollution Rule Trading

Program, work by setting an overall emissions budget and issuing allowances

equal to that budget to be divided amongst sources. Individual emitters can choose

to emit over and above their share of that target, but they must purchase allowances

to offset those emissions. This well-established structure is designed to ensure an




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overall decline in emissions while allowing emitters flexibility to determine how

they will comply.

      Petitioners claim that the supply of allowances for electric generating units is

too low and compliance costs will therefore be too high. As a result, they claim,

coal-generating units will be forced to “disorderly retire,” jeopardizing grid

reliability. Industry Petitioners’ Brief at 81. But the program’s allowances are more

than adequate and, to the extent that costs of compliance result in owners deciding

to retire their plants, this reflects broader economic trends, not an overly stringent

rule. Petitioners fail to acknowledge EPA’s reasonable and substantial efforts to

ensure an adequate allowance supply based on the best evidence available.

      The initial calculation and allocation of allowances is frequently a source of

contention in emission trading programs, particularly by regulated industry. But

EPA’s calculation and allocation of NOx allowances followed longstanding

processes and relied on well-regarded industry modeling. 88 Fed. Reg. 36654,

36698-99. EPA allocates allowances on the basis of each state’s emission budget.

These budgets are set at the sum of projected emissions remaining from electric

generating units were the Plan’s specified pollution controls in place. EPA,

ALLOWANCE ALLOCATION UNDER THE FINAL RULE TSD 2 (2023), EPA-HQ-OAR-

2021-0668-0132, JA___.




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      This approach identifies, but does not mandate, readily available technology

that could reduce emissions. The Plan then requires compliance with emissions

budgets equivalent to the reductions that would stem from installing those

pollution controls, affording flexibility to generating units to choose how to

comply while maintaining a level of output consistent with economic dispatch

given the plant efficiencies and variable costs. Power plants can choose to comply

through a range of methods, from conducting maintenance on existing controls to

making operational changes that reduce overall emissions, like using more efficient

units or switching to lower-emission fuels. The central requirement is that

collectively, the regulated generating units in each state must achieve emissions

reductions equivalent to those attributable to the pollution control technologies

EPA has identified.

      Petitioners insist that EPA has set the allowance cap too low because it either

underestimated overall NOx emissions in the absence of controls, overestimated

emissions reductions attributable to pollution reduction technology, or both. But

EPA’s overall projections for NOx emissions are, if anything, overly conservative in

favor of industry, and EPA’s reduction estimates attributed to the pollution controls

are sound.

      EPA’s overall NOx projections relied on the best available data for existing

generating units and incorporated up-to-date assumptions about new builds, firmly



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committed retirements, and electricity demand, among other factors. 88 Fed. Reg.

36654, 36699. Fleet data for the inventory EPA’s modeling used is sourced from

the Energy Information Administration and EPA’s Emission Tracking System, and

is supplemented with comments from utilities and regional EPA offices. EPA,

DOCUMENTATION FOR EPA’S POWER SECTOR MODELING PLATFORM V6 USING THE

INTEGRATED PLANNING MODEL 4-2 (2021), EPA-HQ-OAR-2021-0668-1145,

JA___. EPA’s projected reductions attributed to pollution controls are thorough,

appropriate, and based on valid data. EPA, THE EGU NOX MITIGATION

STRATEGIES FINAL RULE TSD (Feb. 2022), EPA-HQ-OAR-2021-0688-0125,

JA___.

      The conservative assumptions that undergird EPA’s modeling create a buffer

in allowances, leaving significant room in the unlikely event that electric

generating units fail to adopt the pollution controls envisioned or that these control

technologies fail to perform as expected. Such underperformance, however, is

highly improbable, because EPA’s selection of pollution controls reflects

widespread and technologically mature controls, and the Agency’s projections for

emissions reductions from the selected controls are appropriate and conservatively

calculated.

      The Plan’s modeling is in line with current trends; the Plan provides multiple

flexibility mechanisms and reliability safeguards, responsive to feedback from


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Regional Transmission Organizations. The record supports EPA’s conclusion that

the trading program will contain adequate allowances to support industry operation

without reshaping current generation trends.

         Finally, Petitioners’ claim belies the reality of the electric industry: When

power plant owners choose to retire their units, they indicate their intention to do

so to grid operators, which then perform reliability analyses to determine how to

ensure reliability before the unit is allowed to retire. Power plants do not, and

cannot, simply “disorderly retire.” This phrase misconstrues how the industry

operates in the real world.

   ii.      The Plan’s enhancement measures, such as its backstop daily emissions

            rates, are reasonable provisions that will not undermine grid reliability.

         Petitioners further argue that even if one concedes that the Plan’s trading

program provides sufficient allowances, other features of the Plan intended to

ensure efficient use of existing pollution controls—known as its “enhancements”—

will undermine the Plan’s efficacy and harm grid reliability. But the Plan’s

enhancements will not “[hamstring] the flexibility of its trading program,” as

Petitioners assert. Industry Petitioners Brief 82. EPA deferred some enhancements

to 2030, by which point many of the coal retirements projected independently of

the Plan—consisting predominantly of the older coal plants that would likely




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choose to retire rather than comply with the Plan’s enhancements—will have

already occurred.

      The Plan’s “enhancements” are intended to “help maintain control

stringency over time and improve emissions performance at individual units,

offering an extra measure of assurance that existing pollution controls will be

operated during the ozone season.” EPA, REGULATORY IMPACT ANALYSIS FOR THE

FINAL FEDERAL GOOD NEIGHBOR PLAN ADDRESSING REGIONAL OZONE TRANSPORT

FOR THE 2015 OZONE NATIONAL AMBIENT AIR QUALITY STANDARD 21 (2023),

EPA-HQ-OAR-2021-0668-0151, JA___. The program’s enhancements include

dynamic budgeting and backstop daily emissions rates for coal-fired units of 100

MW or greater. 88 Fed. Reg. 36654, 36664.

      Petitioners’ primary reliability concern focuses on the backstop daily

emissions rate for electric generating units, which is intended to maximize easily

obtainable NOx emissions reductions by preventing idling or “non-optimization” of

controls. 88 Fed. Reg. 36654, 36767. The backstop daily emissions rate requires

generating units to limit emissions to the level that can be achieved with

consistently operating Selective Catalytic Reduction controls. The daily rate

applies first to plants that already have Selective Catalytic Reduction and is

extended to plants without existing Selective Catalytic Reduction in later years of

the program, but no later than 2030. 88 Fed. Reg. 36654, 36767.



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      The Plan’s backstop daily emissions rates are unlikely to result in power

plant closures independent of preexisting trends. For plants with Selective

Catalytic Reduction controls, which include most plants in affected states, the

operating costs of turning on their pollution controls are small and incremental.

REGULATORY IMPACT ANALYSIS, supra, at 138, JA___. Plants without Selective

Catalytic Reduction controls, on the other hand, will not have their backstop daily

emissions rate imposed until at least the second control period and possibly as late

as 2030. 88 Fed. Reg. 36654, 36767. The coal plants that opt not to adopt these

conventional and widespread controls are likely to be in the ever-growing category

of coal plants already beyond their expected operating lives. As such, many of

these plants are also highly likely to be part of the retirements expected prior to or

in 2030 and, as a result, the backstop daily emissions rate may never apply to them.

      The Plan includes additional protections to ensure that reliability will not be

impacted by its enhancement provisions. The Plan allows a 50-ton buffer, for

example, before applying the daily emissions rate allowance surrender ratio in

order to accommodate startup emissions and avoid discouraging plants from

coming online when necessary. 88 Fed. Reg. 36654, 36774. As a final safeguard,

the Plan does not limit an electric generating unit’s ability to seek an emergency

waiver authorization from the Department of Energy under Federal Power Act

202(c), 16 U.S.C. § 824a(c). These waivers can waive compliance with


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environmental standards when necessary to ensure reliability, given sudden

changes in electricity demand. See U.S. DEP’T OF ENERGY, DOE’s Use of Federal

Power Act Emergency Authority, https://www.energy.gov/ceser/does-use-federal-

power-act-emergency-authority-archived.

      In sum, the Plan does not require plant retirements or change the underlying

dynamics already driving the industry’s turn away from increasingly uneconomic

coal generation. The trading program’s structure and allocation of allowances

offers flexibility to electric generating units to choose how they meet the Plan’s

requirements. To the extent that the choices facing coal generating units are

constrained, this constraint reflects the increasingly and fundamentally uneconomic

nature of coal generation in a changing energy landscape, not an overly stringent

Plan. The gradual shifts that the Plan contemplates are modest compared to broader

changes already underway, as the power sector trends toward cheaper and more

efficient lower-carbon sources.

          b. The longstanding trend away from coal and toward renewable

             generation will improve, not jeopardize, reliability.

      Petitioners conclude not simply that the enhancements will reduce the

emissions trading program’s flexibility, but go further, arguing that resulting

“powerplant closures will necessarily impact reliability.” Industry Petitioners Brief

82. This claim is not based in fact. Instead, there is strong evidence that the current


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independent trend of accelerating coal plant closures and parallel buildout of

renewable generation and infrastructure will improve reliability and resiliency.

      Petitioners are asking EPA to regulate for a world that does not exist, based

on an unrealistic view about circumstances on the grid going forward. Historical

approaches to ensuring resilient transmission and distribution, resource adequacy,

and load balancing have been predicated on the specifications of the grid we used

to have: one designed to deliver generation from large, centralized, fossil-fuel

steam generating units. Petitioners’ reliability claims rely on this vision, but

approaches to reliability designed around those historical characteristics can no

longer meet the needs of the grid we have today.

      The contemporary grid is made up of diverse generation sources, and

reliability is driven by upgrades to transmission and increasing resilience, with a

growing contribution from storage, not by “baseload” generation. Coal-fired steam

generating units have slow ramp rates, high minimum loads, long startup times,

and are inflexible from an operational point of view, which makes them ill-suited

to providing the flexibility needed to manage the modern grid. Many of the

reliability tools the grid needs today rely on the ability to adjust generation rapidly

in response to highly variable load and to changing output at some renewable

projects. Coal generation cannot adjust with flexibility to changes in load and other

low-cost power producers.



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      Petitioners also selectively focus on only one element of reliability—

resource adequacy—at the expense of other elements that will likely benefit from

the systemwide changes the Plan assumes. Propping up coal generation does

nothing to address reliability concerns around extreme weather events, which pose

the greatest threat to reliability. Slowing the transition to a renewable grid could,

therefore, impose even greater reliability risks.

      Coal-fired units have an average age well beyond the typical expected

operating life of 40 years, and as with any complicated piece of equipment, outage

rates increase significantly towards the end of a plant’s life. Costs of maintenance

increase and plant functioning can decline as generating units age, presenting

particular concern during extreme weather events. As the coal fleet ages, reliability

analysts have noted “consistently increasing outage rates for coal over the observed

five years, correlating with higher numbers of startups and maintenance outages.”

NORTH AM. ELECTRIC RELIABILITY CORP., 2023 STATE OF RELIABILITY OVERVIEW

7 (2023).

      In sum, far from displaying “disorderly retirement,” the decline of coal

generation is a consistent, decades-long trend that shows no sign of letting up. This

ongoing trend will continue to catalyze changes to the grid that will make it more

nimble, resilient, and flexible.




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          c. EPA consulted grid reliability experts and grid operators, resulting in

             a well-considered Plan.

      It is not surprising that the Plan does not jeopardize reliability. EPA

considered reliability as it developed the Plan, consulting extensively with grid

reliability experts and working in collaboration with affected Regional

Transmission Organizations to address concerns throughout the rulemaking

process. EPA’s conclusions about the effects of the Plan are in line with the record

and with the weight of expert views.

      Petitioners accuse EPA of “eschewing analysis, data, and consultation with

experts in favor of guesswork,” but this is plainly not the case. Industry Petitioners

Brief 82. As discussed above, ensuring reliability is an intensive task involving

many actors. The primary actors charged with ensuring reliability are the Federal

Energy Regulatory Commission and the North American Electric Reliability

Corporation, as well as system operators and Regional Transmission

Organizations. 88 Fed. Reg. 36654, 36679, JA__. EPA engaged with system

operators and the Federal Energy Regulatory Commission throughout the

rulemaking process, hosting meetings with reliability organizations to get their

feedback on the Plan. 88 Fed. Reg. 36654, 36774, JA__. EPA’s modifications

responsive to the resulting feedback are apparent in the final Plan. 88 Fed. Reg.

36654, 36772, JA__. In the lead up to the promulgation of the Plan, EPA also

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coordinated with the Department of Energy to develop a new Memorandum of

Understanding facilitating interagency collaboration to support reliability. EPA &

U.S. DEP’T OF ENERGY, JOINT MEMO ON INTERAGENCY COMMUNICATION AND

CONSULTATION ON ELECTRIC RELIABILITY 1 (2023).

      Petitioners argue that two grid operators have issued reports confirming that

the Plan threatens reliability. Industry Petitioners Brief 84. But neither report

confirms that EPA’s Plan is a specific threat to reliability. The PJM Report cited by

Petitioners generally describes “a confluence of conditions, including state and

federal policy requirements, industry and corporate goals requiring clean energy,

reduced costs and/or subsidies for clean resources, stringent environmental

standards, age-related maintenance costs, and diminished energy revenues” as

“hastening the decline in thermal resources.” PJM, ENERGY TRANSITION IN PJM:

RESOURCE RETIREMENTS, REPLACEMENTS & RISKS 5 (2023). The Midcontinent

System Operator Report makes no mention of the Plan, instead identifying a

shortfall of committed resources it attributes to “Wall Street investment criteria that

make it more challenging to build new dispatchable generation”; “[t]he

approximately $370 billion in financial incentives for clean-energy resources in the

federal Inflation Reduction Act”; and EPA regulations prompting coal and gas

resources to retire. MIDCONTINENT SYSTEM OPERATOR, MISO’S RESPONSE TO THE

RELIABILITY IMPERATIVE 7 (2024).



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      In summary, these reports do not support the idea that the Plan jeopardizes

reliability—and certainly not that EPA’s decision making was arbitrary and

capricious on this score. The PJM report merely affirms that a range of preexisting

conditions is leading to the decline of coal power plants, conditions which EPA

well understood. The PJM report does not meaningfully engage the question of the

Plan’s role in this trend—or, for that matter, the question of whether this trend

threatens the reliability of the grid (which, as we have noted throughout this brief,

we believe it does not). The second report does not mention the Plan at all.

Nonetheless, EPA considered commenters’ views on these issues in its rulemaking

process, and its decisions based on record evidence—which robustly supports

EPA’s conclusions about reliability—cannot be said to be arbitrary and capricious.

      A transformation is well underway in our electric power system. That

transformation is defined by a shift away from coal-fired generation and towards

renewable generation, storage, and gas-fired generation, and is paired with a suite

of tools to enhance grid reliability throughout this transition. EPA’s Plan correctly

takes this transformation into consideration but will not drive its outcome. Instead,

the Plan makes reasonable and justified assumptions about this transformation,

resulting in a Plan that will have no material impacts on grid reliability.




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                         CERTIFICATE OF COMPLIANCE


      I hereby certify that the foregoing brief complies with the type-volume

limitations set forth in D.C. Cir. R. 32(e)(3) and Fed. R. App. P. 29(a)(5) because

this brief contains 6411 words, excluding the parts of the brief exempted by Fed.

R. App. P. 32(f) and D.C. Cir. R. 32(e)(1). The foregoing brief complies with the

typeface requirements of Fed. R. App. P. 32(a)(5) and the type style requirements

of Fed. R. App. P. 32(a)(6) because this brief has been prepared in a proportionally

spaced typeface using Microsoft Word in 14-point Times New Roman font.




                                                               /s/ Cara Horowitz
                                                               CARA HOROWITZ
                                                               June 24, 2024




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                             CERTIFICATE OF SERVICE


      I hereby certify that, on this 24th day of June, 2024, I caused the foregoing

to be electronically filed with the Clerk of the Court for the United States Court of

Appeals for the District of Columbia Circuit using the Court’s CM/ECF system,

which constitutes service on all parties and parties’ counsel who are registered

ECF filers.


                                                                /s/ Cara Horowitz
                                                                CARA HOROWITZ
                                                                June 24, 2024




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            ADDENDUM – CREDENTIALS OF GRID EXPERTS


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and energy systems analysis and economics. He is Chair of the California

Independent System Operator Market Surveillance Committee and a Fellow of

Life Fellow at the Institute of Electrical and Electronics Engineers and the Institute

of Operations Research and Management Science. He was also a consultant to the

PJM Independent System Operator and developed the methodology it uses to

create its capacity market demand curve as part of its original Reliability Pricing

Model. From 1995 to 2002, he was consultant to the Federal Energy Regulatory

Commission’s Office of the Economic Advisor. He holds a Ph.D. in

Environmental Systems Engineering from Cornell University.




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Brendan Kirby is a private consultant with clients including the Hawaii Public

Utilities Commission, Grid Lab, National Renewable Energy Laboratory, Energy

Systems Integration Group, Electric Power Research Institute, American Wind

Energy Association, Oak Ridge National Laboratory, and others. He has forty-nine

years of electric grid experience, and has published over 180 papers, articles, book

chapters, and reports on power system reliability and integrating renewable energy

generation into the power grid. He was a member of the North American Electric

Reliability Corporation’s Essential Reliability Services Task Force, and previously

served on its Standards Committee. He retired from the Oak Ridge National

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Kenneth J. Lutz is an Affiliated Professor in the Department of Electrical and

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teaches specially designed courses on the modernization of the electric grid. He has

decades of experience in the regulation of utilities. He founded AMR Strategies,

LLC, to help utilities modernize their grids. Previously, he served as an

IEEE/American Association for the Advancement of Science Congressional

Fellow for United States Senator Ron Wyden, where he played a key role in


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drafting federal legislation for renewable energy and energy efficiency. He has a

Ph.D. in electrical engineering from the Johns Hopkins University and a B.E.E.

from the University of Delaware.


Susan Tierney, a Senior Advisor at Analysis Group, is an expert on energy

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She has consulted to and been an expert witness on behalf of businesses, federal

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environmental regulation and strategy, and energy projects. Previously, she served

as the Assistant Secretary for Policy at the U.S. Department of Energy. She was

the Secretary of Environmental Affairs in Massachusetts, a Commissioner at the

Massachusetts Department of Public Utilities, and Executive Director of the

Massachusetts Energy Facilities Siting Council. Dr. Tierney has authored

numerous articles and spoken frequently at industry conferences. She serves on a

number of boards and advisory committees, including chairing the Board of

Resources for the Future and chairing the National Academies’ Board on Energy

and Environmental Systems. She is a member of the advisory councils at the New

York University’s Institute for Policy Integrity and the New York Independent

System Operator. She was a member of several of the National Academies’ expert

committees, including on The Future of Electric Power in the U.S. (2021) and


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Enhancing the Resilience of the Nation’s Electric Power Transmission and

Distribution System (2017). She previously chaired the Department of Energy’s

Electricity Advisory Committee and served on the U.S. Secretary of Energy

Advisory Board and the U.S. Environmental Protection Agency’s Clean Air Act

Advisory Council. She earned her Ph.D. and M.A. in regional planning at Cornell

University and her B.A. at Scripps College.




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